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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT

 UNITED STATES OF AMERICA                       :       Crim. No. 3:16CR220 (AWT)
                                                :
        v.                                      :
                                                :
 DAVID DEMOS                                    :       January 12, 2018

                       GOVERNMENT’S MOTION IN LIMINE
                   REGARDING DEFENDANT’S EXPERT WITNESSES

       In a November 9, 2017 letter regarding its potential expert witnesses (“Notice,” attached

as Ex. 1 hereto), the defendant David Demos noticed two expert witnesses—Frank J. Fabozzi,

Ph.D. and Marc Menchel. The Government respectfully moves the Court for an order concerning

defendant’s experts that grants the following relief:

          i.   precluding all expert evidence not summarized in the Notice;

         ii.   precluding defendant from offering as expert opinions Fabozzi’s unsupported legal

               arguments or conclusions (i) defining a “reasonable investor” and (ii) stating that

               the victims were unreasonable and breached their fiduciary duties by believing

               Demos’s misrepresentations; and

        iii.   consistent with the relief sought in the Government’s other motions in limine,

               precluding defendant’s experts from testifying that (a) bonds traded in the charged

               scheme had fair market values or prices, (b) victims eventually made a profit on

               bonds they bought in the charged scheme, and (c) victims’ purported lack of care

               or diligence is to blame for their entering into fraudulent trades with defendant.
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I.       THE COURT SHOULD LIMIT DEMOS’S EXPERT EVIDENCE TO THE
         NOTICE

         Demos should be precluded from offering any expert opinions or bases for expert opinions

that he has not already disclosed in the Notice, except as the parties have agreed. 1

         Rule 16(d)(2) gives the district court the discretion to preclude expert testimony “regarding

any topics or opinions not properly disclosed.” United States v. Mahaffy, No. 05-CR613, 2007

WL 1213738, at *2 (E.D.N.Y. Apr. 24, 2007) (citing United States v. Barile, 286 F.3d 749, 758-

59 (4th Cir. 2002)); United States v. Naegele, 468 F. Supp. 2d 175, 176 (D.D.C. 2007); United

States v. Wilson, No. 04-CR-1016 (NGG), 2006 WL 3694550, at *2 (E.D.N.Y. Dec. 13, 2006). A

defendant necessarily cannot satisfy its burden of demonstrating the admissibility of expert

testimony without first offering adequate notice to the Court. Likewise, the Government cannot

prepare to meet proposed expert testimony—including with an evidentiary objection, a motion to

preclude or cross-examination—if it does not have an unambiguous summary of the expert’s

opinions and bases for those opinions. Most importantly, the Court cannot fulfill its “gatekeeper”

function if it does not know the proposed testimony and the basis for it. See Fed. R. Crim. P. 16

advisory committee’s note, 1993 Am.; Wilson, 2006 WL 3694550, at *2; Naegele, 468 F. Supp.

2d at 176.

         Accordingly, the Court should make clear that—except as the parties have agreed—any

expert testimony not already disclosed in the Notice is excluded.




     1
     Demos initially contended that his Notice was subject to modification until some unspecified
future date. On December 18, 2017, defendant agreed that (i) the expert opinions disclosed in the
Notice would not be subject to change, and (ii) he would update his Notice by February 15, 2017
to disclose if either defense expert relies on any of the documents produced in response to
defendant’s Fed. R. Crim. P. 17(c) subpoenas as an additional basis for any existing opinion.
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II.    THE COURT SHOULD PRECLUDE UNSUPPORTED EXPERT TESTIMONY ON
       LEGAL ARGUMENTS AND CONCLUSIONS

       In deliberating on the disputed issue of materiality, the jury will decide whether an

objective reasonable investor would have deemed Demos’s misrepresentations significant to the

decision to enter into a RMBS transaction at a certain price. United States v. Vilar, 729 F.3d 62,

89 (2d Cir. 2013) (misrepresentation is material where there is “a substantial likelihood that a

reasonable investor would find the…misrepresentation important in making an investment

decision”); Amgen Inc. v. Conn. Ret. Plans & Trust Funds, 568 U.S. 455, (2013) (“Materiality is

judged according to an objective standard.”). The Government has no objection to Dr. Fabozzi

testifying as to how RMBS investors typically conduct themselves, so long as defendant lays a

sufficient foundation based on Dr. Fabozzi’s academic training and experience. But Fabozzi’s

proposed testimony is unsupported and an inadmissible legal argument or conclusion, insofar as

he purports to define a “reasonable investor” and labels the victims as per se unreasonable or in

breach of their fiduciary duties for believing Demos’s lies.

       A.       Background

       The Government objects to defendant eliciting testimony from Dr. Fabozzi on two points

disclosed in the Notice.

       First, Demos proposes to elicit Dr. Fabozzi’s opinion on what a “reasonable investor”

thinks and does, in contrast with what the victims thought or did. For instance, defendant’s Notice

states that Fabozzi will testify as follows:

            •   “Reasonable investors in this market conduct rigorous, independent analysis and

                due diligence….” Notice at 5 (emphasis supplied).

            •   “The manner in which sophisticated investors in the non-agency RMBS market

                make decisions about whether to buy, sell, or hold a bond, including the role of


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      proprietary modeling in the decision-making process, as well as other relevant

      market information, and how reasonable investors go about acquiring, compiling,

      evaluating and verifying such information.” Id. at 6 (emphasis supplied).

  •   “A reasonable investor, such as the sophisticated counterparties identified in the

      Indictment, would give little, if any, weight to statements made by a dealer in the

      course of negotiations, including the dealer’s representations about the price at

      which the dealer previously purchased the RMBS, whether the RMBS was being

      sold from the dealer's inventory, or whether the dealer was transacting with a buyer

      or seller on the other side.” Id. (emphasis supplied).

  •   “[I]f an investor could not independently verify information provided to it by a

      dealer during the course of negotiations over the purchase or sale of an RMBS, the

      counterparty investor would not be reasonable in relying on such information in

      making its investment decision, and that reasonable investors in the RMBS market

      do not rely on such information in making investment decisions.” Id. (emphasis

      supplied).

  •   “[R]easonable investors in the non-agency RMBS market treat unverifiable

      information with skepticism.     The counterparty’s unverified acquisition price

      would not affect a reasonable investor’s decision about whether to purchase a non-

      agency RMBS and at what price.” Id. at 7 (emphasis supplied).

  •   “[A]n investor in the non-agency RMBS market would act reasonably in relying on

      a dealer’s representations about verifiable information about a given RMBS, such

      as the specific CUSIP number of an RMBS bond under negotiation, the collateral

      securing the bond, the current face or original face amount, or the rating, but would


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               not be acting reasonably…if it made its investment decision on non-verifiable

               information from the dealer such as whether the bond being negotiated was being

               sold out of the dealer's inventory, the price the dealer paid to acquire the security

               or how much profit the dealer is earning.” Id. (emphasis supplied).

           •   “[R]easonable investors were willing to pay, and did pay, a range of prices for the

               same RMBS during the same periods of time.” Id. (emphasis supplied).

           •   “[R]easonable investors did not have a single price they were willing to pay for a

               bond.” Id. (emphasis supplied).

       Second, defendant seeks to elicit Dr. Fabozzi’s unsupported opinion that the victims

breached their fiduciary duties to their investors by believing Demos’s misrepresentations that

caused them to pay artificially higher prices for RMBS bonds.

           •   “[I]t would be a breach of the counterparties’ fiduciary duties to their own investors

               to rely on such representations in making a decision whether to purchase an RMBS

               and, if so, at what price.” Notice at 6 (emphasis supplied).

           •   “[A]n investor in the non- agency RMBS market…would not be acting reasonably

               and satisfying its fiduciary duties if it made its investment decision on non-

               verifiable information from the dealer such as whether the bond being negotiated

               was being sold out of the dealer's inventory, the price the dealer paid to acquire the

               security or how much profit the dealer is earning.” Id. at 7 (emphasis supplied).

       The Notice does not specifically identify Dr. Fabozzi’s basis for holding each of the

above opinions (collectively, the “reasonable investor opinions”); instead, it generally cites “his

education, training and experience.” Id. at 4.




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       B.      Applicable Legal Standard

       “It is well-established that the trial judge has broad discretion in the matter of the admission

or exclusion of expert evidence.” Boucher v. United States Suzuki Motor Corp., 73 F.3d 18, 21

(2d Cir. 1996) (internal quotation marks omitted); United States v. Lumpkin, 192 F.3d 280, 289

(2d Cir. 1999) (decision to exclude expert testimony is sustained unless “manifestly erroneous”).

       The admission of expert testimony is governed by Federal Rule of Evidence 702 and

analyzed under the framework set out by the Supreme Court. See Daubert v. Merrell Dow Pharm.,

Inc., 509 U.S. 579, 597 (1993) (holding that scientific expert testimony is admissible only if it

“rests on a reliable foundation and is relevant to the task at hand”); see also Kuhmo Tire Co. v.

Carmichael, 526 U.S. 137, 141 (1999) (extending Daubert to non-scientific testimony and

requiring “‘technical’ and ‘other specialized’ knowledge”). Rule 702 provides as follows:

               A witness who is qualified as an expert by knowledge, skill,
               experience, training, or education may testify in the form of an
               opinion or otherwise if:
               (a) the expert’s scientific, technical, or other specialized knowledge
               will help the trier of fact to understand the evidence or to determine
               a fact in issue;
               (b) the testimony is based on sufficient facts or data;
               (c) the testimony is the product of reliable principles and methods;
               and
               (d) the expert has reliably applied the principles and methods to the
               facts of the case.
       District courts are “gatekeepers” when it comes to evaluating proffered expert testimony.

See United States v. Cruz, 363 F.3d 187, 192 (2d Cir. 2004). In determining whether proffered

expert testimony is admissible, courts must decide whether the expert testimony “both rests on a

reliable foundation and is relevant to the task at hand.” United States v. Williams, 506 F.3d 151,

160 (2d Cir. 2007) (quoting Daubert, 509 U.S. at 597). Expert testimony “must be carefully

circumscribed to assure that the expert does not usurp either [1] the role of the trial judge in

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instructing the jury as to the applicable law or [2] the role of the jury in applying that law to the

facts before it.” United States v. Bilzerian, 926 F.2d 1285, 1294 (2d Cir. 1991).

       An expert usurps the Court’s role as sole arbiter of the law by testifying to legal arguments

or conclusions. For that reason, except in unusual circumstances not present here, “an expert’s

testimony on issues of law is inadmissible.” Id. See also United States v. Feliciano, 223 F.3d 102,

121 (2d Cir. 2000) (Second Circuit “requires the exclusion of testimony [that] states a legal

conclusion”) (alteration in original). The Second Circuit has long distinguished between “factual

conclusions that may be included in an expert’s testimony—though they embrace an ultimate issue

to be decided by the jury—and opinions embodying legal conclusions that encroach upon the

court’s duty to instruct on the law.” Id. For instance, in Marx & Co., Inc. v. Diners Club, Inc., the

Court held that an opinion on the meaning of contract terms was outside the expert’s expertise and

invaded the court’s authority to instruct the jury on the applicable law.” 550 F.2d 505, 509-510

(2d Cir. 1977). Likewise, in United States v. Scop, an opinion that conduct established a

manipulative and fraudulent scheme within the meaning of the securities laws was inappropriate

expert testimony. 846 F.2d 135, 139 (2d Cir. 1988).

       An expert impermissibly interferes with the jury’s role as fact finder by opining what

conclusions it should reach. Hygh v. Jacobs, 961 F.2d 359, 363 (2d Cir. 1992) (expert testimony

that arresting officer’s conduct was “not justified under the circumstances” should have been

excluded as it merely told jurors what result to reach) (citations omitted); United States v. Duncan,

42 F.3d 97, 101 (2d Cir. 1994) (“When an expert undertakes to tell the jury what result to reach,

this does not aid the jury in making a decision, but rather attempts to substitute the expert’s

judgment for the jury’s”); United States v. Lumpkin, 192 F.3d 280, 289 (2d Cir. 1999) (holding a




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district court was within its discretion to exclude an expert who “would effectively have inserted

his own view of the officers’ credibility for that of the jurors, thereby usurping their role”).

       C.      Argument

               1.      The Reasonable Investor Opinions Are Unsupported

       It is permissible for Dr. Fabozzi to testify about what RMBS investors generally do or

think, provided defendant can lay a sufficient foundation based on his academic training and

experience.

       However, the Notice discloses no basis for Dr. Fabozzi’s opinions about the definition of

an objective “reasonable investor,” or that the victims’ conduct diverged from that of a reasonable

investor or breached their fiduciary duties. The only bases identified for Fabozzi’s opinions are

his “education, training and experience.” Notice at 4. While Fabozzi has had extensive academic

exposure to RMBS analysis and valuation, id. at 1-3, defendant does not claim that he has any

education, training or experience in legal matters or in actually trading RMBS or other fixed

income securities.

       Accordingly, Fabozzi’s opinions about the attributes of an objective “reasonable investor”

under the securities fraud statutes or what conduct violates a reasonable investor’s fiduciary duties

should be excluded because they do not “rest on a reliable foundation.” Daubert, 509 U.S. at 597.

       D.      The Reasonable Investor Opinons Are Inadmissible Legal Arguments and
               Conclusions

       Defendant clearly intends to use Dr. Fabozzi to argue a legal issue that is for the jury to

decide, namely, the materiality of Demos’s misrepresentations.

       Fabozzi’s proposed testimony is the equivalent of this legal argument: (i) reasonable

investors are never duped, and it is a breach their fiduciary duties to let themselves be duped; (ii) if

the victims fell for Demos’s lies, then they cannot be reasonable investors; (iii) therefore, Demos’s


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misrepresentations cannot be material because they were only important to unreasonable investors

like the victims. While defendant can argue this in closing, he may not use a retained witness to

argue—under the guise of “expert testimony”—that Demos’s lies were not material. It is improper

for defendant to use his expert to present legal conclusions concerning the characteristics of a

“reasonable investor” that only the jury is entitled to reach. In short, Demos is not entitled to use

expert testimony to tell the “jury what result to reach.” Duncan, 42 F.3d at 101.

         Shorn of its improper legal conclusions, and so long as the remainder of his testimony

follows a sufficient foundation, Dr. Fabozzi’s testimony about how RMBS investors typically

behave would be unobjectionable.         Put differently, if defendant were to delete the term

“reasonable” from Dr. Fabozzi’s reasonable investor opinions contained in the Notice (along with

all references to what constitutes a breach of an investor’s fiduciary duties), and assuming

defendant otherwise lays a proper foundation, then the Government would have no objection.

III.     THE COURT SHOULD PRECLUDE DEFENDANT’S EXPERTS FROM
         OFFERING OTHERWISE INADMISSIBLE TESTIMONY

         As set forth in the Government’s other motions in limine, also filed today, the Court should

preclude defendant’s experts from testifying that (a) the prices of the RMBS bonds in the charged

trades were consistent with fair market value, (b) victims eventually made a profit on bonds they

bought in the charged scheme, and (c) victims defrauded in this case should have been more

diligent or cautious in entering into securities transactions and thus could have avoided being made

victims of defendant’s fraud.

                                          CONCLUSION

         For the foregoing reasons, the Government respectfully requests that the Court issue an

order:

           i.   precluding all expert evidence not summarized in the Notice;


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 ii.   precluding defendant from offering unsupported legal arguments or conclusions as

       Dr. Fabozzi’s expert opinions; and

iii.   precluding defendant’s experts from testifying that (a) bonds traded in the charged

       scheme had fair market values or prices, (b) victims eventually made a profit on

       bonds they bought in the charged scheme, and (c) victims’ purported lack of care

       or diligence is to blame for their entering into fraudulent trades with defendant.



                                            Respectfully submitted,

                                            JOHN H. DURHAM
                                            UNITED STATES ATTORNEY

                                                       /s/
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on January 12, 2018, a copy of the foregoing was filed electronically.

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing

system. Parties may access this filing through the Court’s CM/ECF System.



                                                            /s/
                                                     JONATHAN N. FRANCIS
                                                     ASSISTANT UNITED STATES ATTORNEY




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                 EXHIBIT 1
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                                        ---THE---

                                        .BAEZ
                                        -LAW FIRM
                                        TRIAL LAWYERS
 November 9, 2017

 John Jefferies, Esq.
 Heather L. Cherry, Esq.
 David Novick, Esq.                                      BY EXPRESS MAIL AND EMAIL
 Assistant United States Attorneys
 United States Attorney's Office
 District of Connecticut
 157 Church Street, 25th Floor
 New Haven, CT 06510

        Re: United States v. Demos, No. 3: J6-CR-00220 (A WT) (D. Conn.)

 Dear Counsel:

         Defendant David Demos submits this letter, pursuant to Federal Rule of Criminal Procedure
 16(b)(l)(C)(i), to provide a summary of the testimony that Frank J. Fabozzi, Ph.D. and Marc Menchel
 may give at trial if a defense case is presented.

         This summary of testimony is provided without prejudice to the Defendant's rights to amend,
supplement, or otherwise modify this disclosure depending on, among other things, whether the
government designates any experts in its case in chief, the nature and scope of any such experts'
testimony and opinions, the testimony and exhibits to be offered by the government in its case in
chief, and/or the receipt of documents or other evidence from the government or third parties prior to
trial.

         Per our discussion today, it is my understanding that you will object to our right of
reservation to supplement or otherwise modify this disclosure as indicated above. Accordingly, I
intend to address your objection with the Court during our telephone conversation today at 4:30PM.

        Frank J. Fabozzi, Ph.D.

        a.        ualifications:

                 Frank J. Fabozzi has over 40 years of industry and academic experience, has authored
                 hundreds of articles and other scholarly works, and is a widely recognized authority


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BOSTON                   MI.AMI                   NEW BEDFORD                          ORLANDO
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                     in the areas of structured finance, fixed-income securities, and portfolio management.
                     He is Professor of Finance at EDHEC Business School, and Senior Scientific Adviser
                     and co-head of the fixed-income research program at the EDHEC-Risk Institute. 1 Dr.
                     Fabozzi is also a Teaching Fellow in Executive Programs at the Yale School of
                     Management.

                     For the 2016-2017 academic year, Dr. Fabozzi is a visiting professor in the
                     Department of Operations Research and Financial Engineering at Princeton
                     University. In the Spring 2016 semester, he held the same visiting professor position
                     and taught a graduate course in quantitative asset management. From 2014 to 2015,
                     Dr. Fabozzi was Visiting Fellow for the Department of Operations Research and
                     Financial Engineering at Princeton University, and for the 2013-2014 academic year
                     was the James Wei Visiting Professor in Entrepreneurship in Princeton's School of
                     Engineering and Applied Science. Prior to that, from 1994 through 2011, Dr. Fabozzi
                     held multiple professorial positions in finance at the Yale University School of
                     Management. From July 2003 to June 2011, Dr. Fabozzi served on the Advisory
                     Council for the Department of Operations Research and Financial Engineering at
                     Princeton University. From 1986 to 1992, he was a Visiting Professor of Finance in
                     the MIT Sloan School of Management. In addition, Dr. Fabozzi has held
                     professorships in finance and economics at Hofstra University, Queens College
                     (CUNY), Lafayette College, and Fordham University.

                     Dr. Fabozzi has authored or co-authored several books relating to mortgage- backed
                     securities, including Fixed Income Analysis for the Chartered Financial Analysts
                     Program, which is required reading for Levels I and II of the Chartered Financial
                     Analyst ("CFA") Program examination.

                     Dr. Fabozzi is the editor of the Journal ofPortfolio Management and an associate
                     editor of several other journals related to structured finance and the trading and
                     valuation of fixed-income securities. He is the editor of The Handbook ofFixed
                     Income Securities, a definitive and trusted resource in the world of fixed-income
                     investing, and The Handbook of Mortgage-Backed Securities.

                     Relevant chapters of books authored or edited by Dr. Fabozzi include:

                         •   Frank J. Fabozzi, Bond Markets, Analysis and Strategies, Ninth Edition
                             (Prentice Hall, 2016).
                             o Ch. 13 (Non-Agency Residential Mortgage Back Securities)
                             o Ch. 19 (Analysis of Residential Mortgage-Backed Securities)
                         •   Frank J. Fabozzi, Anand K. Bhattacharya, and William S. Berliner,
                             Mortgage-Backed Securities: Products, Structuring, and Analytical
                             Techniques, Second Edition (John Wiley & Son, 2011).
                             o Ch. 2 (Overview of the Mortgage-Backed Securities Market)
                             o Ch. 4 (Prepayments and Factors Influencing the Return of Principal)
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      1 EDHEC is a French institution of higher learning, known as a "grande ecole" with campuses in
     France, London and Singapore.



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                          o Ch. 8 (Structuring Private Label CMOs)
                          o Ch. 9 (Structuring of Mortgage ABS Deals)
                          o Ch. 10 (Techniques for Valuing MBS)
                          o Ch. 13 (Analysis of Non-Agency MBS)
                      •   Frank J. Fabozzi, Fixed Income Analysis for the Chartered Financial
                          Analysts Program, Second Edition (Frank J. Fabozzi Associates, 2004).
                          o Ch. 10 (Mortgage-Backed Sector of the Bond Market)
                          o Ch. 12 (Valuing Mortgage-Backed and Asset-Backed Securities)
                      •   Frank J. Fabozzi, Selected Topics in Bond Portfolio Management
                          (Frank J. Fabozzi Associates, 1997)
                          o Ch. 12 (A User's Guide to Buy-Side Bond Trading)

                  Dr. Fabozzi frequently consults for and presents on topics in fixed income securities
                  and portfolio management to government agencies. This has included, among others,
                  the U.S. Securities and Exchange Commission, U.S. Department of Justice, Federal
                  Home Loan Bank of Atlanta, Federal Reserve Board, Federal Home Loan Bank of
                  New York, as well as major financial institutions. Dr. Fabozzi has been a trustee for a
                  complex offunds sponsored by BlackRock Inc. (the closed-end funds) since its
                  inception in 1988. He also served for two years as a trustee for the BlackRock Inc.
                  equity-liquidity funds complex. He was previously a trustee for the Guardian family
                  of open-end funds and variable annuities.

                  Dr. Fabozzi has been retained by participants on the buy- and sell-sides of the bond
                  market to provide training to traders, salespeople, and portfolio managers regarding
                  how RMBS work, and proper bond analysis and valuation. In some instances, Dr.
                  Fabozzi has been retained to help establish sales and trading desks at a broker-dealer
                  or asset manager. These engagements have involved more than 30 firms on the buy-
                  side and the sell-side, including, among others, Bear Stearns, Alex Brown, Fannie
                  Mae, Smith Barney, M&T Bank, Standard & Poor's, Freddie Mac, Bank of America,
                  Piper Jaffray, Barclays Merrill Lynch, FHLB of New York, JP Morgan, Paribas, and
                  Paine Webber.

                 Dr. Fabozzi has testified as an expert witness in various cases, including on behalf of
                 the U.S. Department of Justice and the U.S. Securities and Exchange Commission.

                 In 2002, Dr. Fabozzi was inducted into the Fixed Income Analysts Society Hall of
                 Fame, which recognizes lifetime achievements of outstanding practitioners in the
                 advancement of the analysis of fixed-income securities and portfolios. In 2015, Dr.
                 Fabozzi was awarded the James R. Vertin Award by the CFA Institute, in
                 acknowledgement of his contributions to the profession of investment management.
                 In 2007, he received the C. Stewart Sheppard Award from the CFA Institute for his
                 leadership and education efforts in the investment management profession.

                 Dr. Fabozzi graduated from City College of New York with a B.A. and M.A. in
                 Economics in 1970. Dr. Fabozzi obtained his doctorate in economics from the
                 Graduate Center of the City University ofNew York in 1972. He earned the
                 designation of Chartered Financial Analyst in 1977 and Certified Public Accountant
                 in 1982. Dr. Fabozzi received an Honorary Doctorate of Humane Letter from Nova
                 Southeastern University in June 1994.


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            b.    .Summa of O inions and Bases: It is anticipated that Dr. Fabozzi, if called as a
                  witness, would testify, all based on his education, training and experience,2 as to his
                  opinion on the following issues:

                  1.      Ex lanation ofRMBS. How RMBS are structured, how they perform, and
                          how they are evaluated as investments, including specifically during the time
                          period covered by the Superseding Indictment (the "Indictment"), when
                          RMBS were viewed as distressed assets. What a non-agency RMBS is and
                          how its expected value to an investor is driven by assumptions about the
                          underlying mortgage pool and other factors such as default rates, recovery
                          rates, prepayment rates, housing market conditions, and geographical factors.
                          Dr. Fabozzi may opine that investors use these variables to construct models,
                          predict a bond's yield, and ultimately determine a range of reasonable prices
                          for the bond. Dr. Fabozzi may summarize certain examples of these models,
                          including such as those expected to be produced by third parties.

                         Specifically, Dr. Fabozzi may explain to the jury the various components of
                         these models ( e.g., default rates, recovery rates, pre-payment rates,
                         delinquency rates, etc.), and how those inputs are used to generate a price
                         range for a given RMBS.

                  11.    Specifically, Dr. Fabozzi would testify that, based on the variables identified
                         above, such as default rates, recovery rates, prepayment rates, etc., the
                         counterparties who prepared these models used them to determine a price
                         range at which they would either buy or sell a specific RMBS and that they
                         relied on these models and other information, such as price information
                         provided by other dealers and third-party marking vendors, to make those
                         investment decisions.

                  m.     The RMBS Market. The structure and unique features of the non- agency
                         RMBS market, and, in particular, the market as it existed during the time
                         period relevant to the Indictment. The market was and remains generally
                         opaque and illiquid, and during periods of market stress, such as the period
                         relevant to the Indictment, investors executed non-agency RMBS
                         transactions within a wide price range, and expected non-agency RMBS
                         transactions to be executed within a wide price range. Dr. Fabozzi may opine
                         that in an illiquid and opaque market, dealers perform a valuable service by
                         creating a market, providing liquidity to sellers, and providing financing for
                         buyers. Dr. Fabozzi would also opine that, despite the generally opaque
                         nature of the RMBS market, market participants such as the counterparties
                         identified in the Indictment, had access to multiple sources of RMBS pricing
                         information, including information provided by dealers; the counterparty's
                         prior marks-to-market on such bonds; marks-to-market and valuations of
                         comparable bonds, including those held by the counterparty itself, which may
                         be obtained from a variety of sources including third-party marking vendors
                         and other RMBS dealers; general market trends; discussions with other
                         market participants; lists of bonds offered for sale; the characteristics of the
                         bond itself; and industry ·'research.



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                  1v.    The non-agency RMBS market is dominated by sophisticated institutional
                         investors, such as hedge funds and large asset managers, who invest heavily
                         in research, modeling, and other kinds of qualitative and quantitative
                         analytics. These institutional investors hire professionals from the world's
                         top universities and graduate schools, many of whom have advanced degrees
                         in finance and mathematics. It was not unusual for buy-side RMBS investors
                         to hire traders and/or portfolio managers with previous experience working at
                         sell-side RMBS dealers. Reasonable investors in this market conduct
                         rigorous, independent research, analysis, and due diligence, including making
                         a determination of the price range in which the investor would or would not
                         buy RMBS, before entering the market to buy or sell non-agency RMBS,
                         specifically, the type of analysis reflected in paragraph (b )(i).

                 v.      Relationshi between Investors and Traders. Dr. Fabozzi may describe the
                         structure of the non-agency RMBS market and the nature of the relationship
                         between traders and investors in this market. Specifically, he may describe
                         the difference between agency and principal trades and the manner in which
                         dealers earn a profit through their trading activities (i.e., by earning a spread
                         between the prices at which they buy and sell RMBS).

                 v1.     In the RMBS market, trades are done on a principal-to-principal basis, as
                         reflected in the trade confirmations for the RMBS transactions referenced in
                         the Indictment. These are arms- length transactions between sophisticated
                         parties whose economic interests are in direct conflict with one another.
                         Dealers are exposed, to varying degrees, to considerable risks in these
                         principal-to-principal transactions, including investment risk, default risk,
                         consummation risk, and the risk that negotiations may simply be
                         unsuccessful, whether they are buying or selling RMBS for their own
                         inventory, or attempting to contemporaneously buy RMBS from one
                         counterparty and sell them to another counterparty. These risks are made
                         more significant because of the high dollar amounts of the RMBS that are
                         typically traded.

                 vu.     Dealers owe no duty of "best execution" to their counterparties in principal-
                         to-principal trades in the non-agency RMBS market. The dealer has no
                         obligation to disclose its acquisition price or profit in principal-to-principal
                         trades of non-agency RMBS. In principal-to- principal trades, the dealer's
                         profit on a trade consists of the difference between the prices at which the
                         firm purchases and sells a bond, which prices incorporate any mark-up on the
                         bond in issue. There are no separate commissions. The trade confirmations
                         produced in this case illustrate Dr. Fabozzi's opinions regarding the
                         principal-to-principal nature of these trades.

                 viii.   Anal sis of Counter art Models. Dr. Fabozzi may opine about the high
                         level of complexity of certain financial models used by buy-side firms, the
                         high level of importance placed on the output of these models by buy-side
                         investors when those investors evaluate non-agency RMBS, the large number
                         of assumptions and variables used in the models, and the relative sensitivity
                         of the models to changes in those assumptions.


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                 1x.   Dr. Fabozzi may opine about the relative complexity of the financial models
                       used by certain buy-side investors versus the financial models employed by
                       Cantor Fitzgerald and David Demos. Many institutional investors on the buy-
                       side invested more heavily and devoted more resources to modeling than
                       Cantor Fitzgerald and David Demos. Institutional investors with highly-
                       sophisticated models frequently had an informational and analytical
                       advantage over Cantor Fitzgerald and David Demos in terms of their ability
                       to evaluate non-agency RMBS.

                 x.     Process that Non-Agency RMBS Investors Use to Make Investment
                        Decisions. The manner in which sophisticated investors in the non- agency
                        RMBS market make decisions about whether to buy, sell, or hold a bond,
                        including the role of proprietary modeling in the decision- making process, as
                        well as other relevant market information, and how reasonable investors go
                        about acquiring, compiling, evaluating and verifying such information. Dr.
                        Fabozzi may opine that once a counterparty has determined that a non-
                        agency RMBS is a suitable candidate for inclusion in its portfolio, the model
                        becomes the most important driver of the counterparty's investment decision.
                        In addition to the model, other relevant information includes the
                       counterparty's marks-to-market on such bonds; the counterparty's marks-to-
                       market and valuations of comparable bonds, including those held by the
                       counterparty itself, which may be obtained from a variety of sources
                       including third-party marking vendors and other RMBS dealers; general
                       market trends; discussions with other market participants; lists of bonds
                       offered for sale; the characteristics of the bond itself; and industry research.
                       A reasonable investor, such as the sophisticated counterparties identified in
                       the Indictment, would give little, if any, weight to statements made by a
                       dealer in the course of negotiations, including the dealer's representations
                       about the price at which the dealer previously purchased the RMBS, whether
                       the RMBS was being sold from the dealer's inventory, or whether the dealer
                       was transacting with a buyer or seller on the other side. Dr. Fabozzi may
                       opine that, if an investor could not independently verify information provided
                       to it by a dealer during the course of negotiations over the purchase or sale of
                       an RMBS, the counterparty investor would not be reasonable in relying on
                       such information in making its investment decision, and that reasonable
                       investors in the RMBS market do not rely on such information in making
                       investment decisions. Dr. Fabozzi may opine that it would be a breach of the
                       counterparties' fiduciary duties to their own investors to rely on such
                       representations in making a decision whether to purchase an RMBS and, if
                       so, at what price. As an economic matter, the dealer's profit as a principal on
                       a given trade has no effect on the future cash flows from the bond. The cash
                       flows are dictated by the performance of the underlying collateral, namely the
                       prepayment, default, and severity rates associated with the mortgage pooL

                xi.    The market roles of investors and dealers and what information they typically
                       exchange. Specifically, in principal-to-principal trades like the non-agency
                       RMBS trades between Cantor Fitzgerald and various counterparties
                       referenced in the Indictment, the parties engage in arms- length negotiations,
                       and each party is acting in its own economic interests, not the economic


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                          interests of the party on the other side of the transaction. Consequently,
                          reasonable investors in the non-agency RMBS market treat unverifiable
                          information with skepticism. The counterparty's unverified acquisition price
                         would not affect a reasonable investor's decision about whether to purchase a
                         non-agency RMBS and at what price. The investor would also rely on its own
                         valuation of the bond, instead of a single unverified purchase price in making
                         its investment decision. For example, an investor in the non- agency RMBS
                         market would act reasonably in relying on a dealer's representations about
                         verifiable information about a given RMBS, such as the specific CUSIP
                         number of an RMBS bond under negotiation, the collateral securing the
                         bond, the current face or original face amount, or the rating, but would not be
                         acting reasonably and satisfying its fiduciary duties if it made its investment
                         decision on non-verifiable information from the dealer such as whether the
                         bond being negotiated was being sold out of the dealer's inventory, the price
                         the dealer paid to acquire the security or how much profit the dealer is
                         earning.

                  xii.   Ran e of Prices Paid for Non-A enc RMBS. Since non-agency RMBS were
                         viewed as distressed assets during the time period covered by the superseding
                         Indictment, reasonable investors were willing to pay, and did pay, a range of
                         prices for the same RMBS during the same periods of time. Dr. Fabozzi may
                         opine that reasonable investors did not have a single price they were willing
                         to pay for a bond. This is demonstrated by the fact that investors paid
                         different prices for the same bond within a reasonably compressed period of
                         time. Dr. Fabozzi may further explain, based on his review of documents
                         obtained by Defendants and third party Defendants during discovery, the
                         amount of profit or loss realized by the counterparties identified in the
                         Indictment through their prior or subsequent trades of the RMBS they bought
                         from or sold to Cantor Fitzgerald. Dr. Fabozzi may also utilize mark-to-
                         market information for certain RMBS bonds obtained from investors during
                         discovery to opine about amount of profit or loss realized by the
                         counterparties.

                 xiii.   Marking to Market. Dr. Fabozzi may opine about the importance to buy-side
                         money managers of marking on the RMBS in their portfolio. Marks-to-
                         market are used by buy-side money managers to assign current market
                         values to RMBS in their portfolio. Institutional investors on the buy-side
                         devote significant resources to ensuring that their marks are accurate, using
                         internal resources, as well as third-party dealers and pricing services. Dr.
                         Fabozzi may opine that marking is a critical factor in an institutional
                         investor's determination of the value of a bond. Dr. Fabozzi may opine that
                         marking is a critical factor for an institutional investor when it determines the
                         price or range of prices at which it may be willing to sell a bond, or add to a
                         position in a bond it already owns.




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            Marc Menchel

               a.     ualifications:

                    September 2012 to Present, Principal, Menchel Consulting LLC

                    Founder of a firm designed to engage in non-legal expert consulting services such as:
                    expert witness; strategic consultancy during the pendency of a regulatory problem,
                    examination, or disciplinary proceeding; oversight for remedial undertakings in
                    response to a regulator matter; or guidance as to the sufficiency of compliance
                    programs in response to regulatory requirements.

                    May 2002 to May 2012, General Counsel, Executive Vice President, FINRA

                    General Counsel of the largest U.S. securities self-regulatory organization, based in
                     Washington, D.C. and New York. Management responsibility for the Office of
                    General Counsel (OGC), which is comprised of 45 staff members including 25
                    attorneys and a $10 million annual budget. OGC is divided among the Appellate
                    Group, Regulatory Groups, and the Ahead of the Curve Group (A TC Group). The
                    Appellate Group serves as counsel to the National Adjudicatory Council (the
                    appellate body for disciplinary proceedings) and writes all FINRA appellate decisions
                    and appears as FINRA's counsel on all appellate briefs submitted to the SEC; the
                    Regulatory Group is charged with determining FINRA regulatory policy both in
                    conjunction with and independently from the operating divisions ofFINRA,
                    preparing, filing, and shepherding all rule filings with the SEC, issuing Regulatory
                    Notices, interpretive guidance, and other publications dealing with FINRA policy,
                    providing a liaison function to all standing committees of FINRA, and providing
                    counsel and policy guidance to all operating departments ofFINRA and senior
                    management. The General Counsel regularly presents on regulatory matters and rule
                    proposals to the FINRA Board of Governors and represents and speaks on behalf of
                    FINRA at national and international securities forums, panels, and conferences
                    throughout the year.

                    Achievements include creation of the mission statement and operating protocols of
                    the ATC Group in May 2002 for the purpose of identifying nascent regulatory issues
                    with potential pernicious and wide-ranging impact (the A TC Group has identified
                    over 50 regulatory topic areas and the program has been emulated by the SEC and
                    NYSE); development of sweeping rule amendments across a broad topical spectrum
                    including th areas of supervisory control, CEO certification of compliance processes,
                    debt mark-up, quality of market rules for the unlisted OTC market, transparency and
                    dissemination protocols for debt instruments, new securities issuance, variable
                    annuity sales, business continuity planning, limit and participation in various FINRA
                    task forces on mutual funds breakpoints and account transfer issues; policy
                    statements on best execution in bonds, obligations attached to the sale of non-
                    conventional instruments, retail participation in hedge funds, and investment issues
                    pertaining to the sale of structured and new products.




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                 July 1995 to March 2002, Director and Corporate Secretary, Executive Vice
                 President and General Counsel, Member of the Board of Directors, Tucker Anthony
                 Incorporated

                 General Counsel of a Boston based broker-dealer, investment bank and investment
                 adviser. Overall management responsibility for the firm's legal and compliance
                 departments staffed by five attorneys, nine compliance/registration professionals, and
                 four support staff. Position entailed broad direct legal responsibilities beyond the
                 management of professionals and the departments. Responsibilities included the
                 determination oflegal and compliance policy concerning all aspects of the firm's
                 business; providing counsel in the following areas: investment/merchant banking,
                 broker-dealer and investment advisory matters, capital markets, operations,
                 regulatory capital issues, and personnel matters; the supervision and management of
                 outside counsel for all matters; handling regulatory matters before the SEC and the
                 self- regulatory organizations; and directing the conduct of firm litigation.

                 Achievements during this period included legal management and due diligence in the
                 buyout of the parent company (Freedom Securities Corporation) from John Hancock
                 Mutual Life Insurance Company; negotiation and implementation of conversion from
                 self-clearing firm to introducing broker; legal and regulatory counsel and
                 management of the private placement of a firm sponsored private-equity fund (a fund
                 of select and top performing venture capital and private-equity funds); responsibility
                 for a range of legal matters regarding the initial public offering of the parent
                 company, Freedom Securities (listed on the NYSE); and complete restructuring and
                 enhancement of firm compliance and trading polices.

                January 1991 to June 1995, Senior Vice President and International Counsel,
                Prudential Securities Incorporated

                Chief international legal officer, based in London (and subsequently New York), and
                responsible for supervision of legal and compliance departments located in London,
                Paris, Hong Kong, and Melbourne. Duties included responsibility for the oversight of
                significant international litigation; acting as corporate secretary and counsel to the
                futures, foreign exchange, money broker and equity broker subsidiaries; providing
                counsel to branch offices throughout Europe, South America, Asia, and Australia;
                oversight of regulatory matters in all locations; providing counsel on capital market
                issues, regulatory capital matters, and matters pertaining to the provision of financial
                services generally.

                Chief achievement during this period was the establishment of a private bank (based
                in Luxembourg) with EC-wide passport privileges during the period (1991 to 1992
                and following) that the Banking Directive was first implemented and the Financial
                Services and Capital Adequacy Directives were pending (which added significant
                difficulties to the implementation of this project because of an uncertain and shifting
                legal and political environment). Project included directing and managing counsel in
                various countries and in-depth negotiation with various central banks including the
                IML in Luxembourg, The Bank of England, and the U.S. Federal Reserve Board.




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                 April 1990 to December 1991, Vice President and Compliance Officer, Prudential-
                 Bache Securities (UK) Incorporated

                 Chief\egal and compliance officer, based in London, for the UK subsidiary of
                 rudential Securities Incorporated and its affiliated futures, foreign exchange, money
                 broker, and equity broker companies. Responsibility for all UK and applicable U.S.
                 regulatory matters; UK capital market issues; European litigation; UK property
                 matters; provision of counsel relative to branch and operational inquiries; and UK
                 corporate matters. Served as a member of the UK investment banking commitment
                 committee. Wrote the UK compliance manual based on AFBD and TSA (later
                 updated for SF A) regulations (these were the UK self-regulatory organizations prior
                 to the advent of the FSA). Developed surveillance program for Eurobond and foreign
                 exchange trading.

                 September 1989 to March 1990, Vice President and Associate General Counsel,
                 Prudential Securities Incorporated

                 Served as counsel to the Correspondent Clearing Division, Bank Certificate of
                 Deposit Division, Precious Metals Division and general corporate area of the firm.
                 Duties involved negotiating and drafting legal agreements and providing counsel
                 based on the regulatory and legal requirements applicable to each of these areas.

                 November 1986 to August 1989, Vice President and Associate General Counsel,
                 Thomson McKinnon Securities Incorporated

                Duties included the negotiation of the firm's leasehold agreements throughout the
                United States and Europe; drafting of contracts; review and drafting of
                documentation attendant to the firm's capital market transactions and registered
                commodity pool offerings; management of significant litigation; preparation of
                pleadings and appearing on behalf of the firm in arbitrations; and representation of
                the firm and various employees before the SEC and self-regulatory organizations.
                Worked extensively on asset sale of firm's clearing operation to ADP and eventual
                asset sale cif remainder of business to Prudential Securities.

                January 1983 to October 1986, Vice President and Deputy Director a/Compliance,
                Thomson McKinnon Securities Incorporated

                Directly managed and supervised a staff of 40 compliance professionals including
                five attorneys. Was primarily responsible for resolving and representing the firm
                before all principal U.S. regulatory bodies. Managed complex litigation with outside
                counsel. Wrote compliance manual. Provided counsel to the banking, institutional,
                trading, and retail areas of the firm.

                August 1980 to December 1982, Compliance Officer, Thomson McKinnon Securities
                Incorporated

                Responsibilities included handling customer complaints and correspondence;
                responding to regulatory inquiries; processing special securities transactions (Rule
                144); managing outside counsel and litigation; preparation of pleadings in arbitration,


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                 research, and response to general broker-dealer trading and retail issues.

                 Professional Affiliation

                 Past member of the Executive Committee of the Securities Industry Association,
                 Compliance and Legal Division (SIACL). Received the SIACL President's award as
                 Regulator of the Year in 2006.

                 Professional Qualification

                 Member of The New York State Bar

                 Education

                 Syracuse University College of Law - J.D., 1980

                 Davidson College - B.A., 1977

           b.   Summary of Opinions and Bases Therefore: Mr. Menchel holds each of the following
                opinions and is prepared to offer them if called to testify. Except where otherwise
                noted, Mr. Menchel 's opinions are based on his experience in the industry and his
                exposure to the regulatory regime governing the industry. In particular, Mr. Menchel
                gained expertise in the topics outlined below through his work as General Counsel of
                FINRA from May 2002 to May 2012, and, prior to that, his work included directing
                compliance for a broker-dealer. All subsequent references to Mr. Menchel 's
                "education, training, and experience" referto the education, training, and experience
                he gained in these positions.

                l. Securities Industry Tenninology and Practices: Based upon his education,
                training, and experience, Mr. Menchel may offer his expert opinion on the meaning
                of certain terms relevant to RMBS trading, and related industry practices that are used
                in the indictment, including:

                a. A broker-dealer is a securities finn that is in the business of buying and selling
                securities. "Broker" refers to a broker-dealer effecting securities transactions, in an
                agency capacity for others. When acting as agent, broker-dealers charge a
                commission to their customers. "Dealer" refers to a broker-dealer acting as
                "principal," which means buying securities for and selling from its own account.
                When acting as a principal, a broker-dealer is compensated through mark-ups or
                mark-downs - or profit- embedded in the price of the security. No commission is
                charged when a broker-dealer acts as principal. In the institutional fixed income
                market, principal trades are viewed as arms-length transactions between
                counterparties whose interests diverge and who owe no fiduciary duties to each other.
                That view is codified in the FINRA mark-up rule that applies to non-investment
                grade fixed income instruments that trade between dealers and qualified institutional
                buyers (QIBs).

                b. Furthermore, when acting as a principal and negotiating with QIBs over the
                purchase ofRMBS, a dealer has no customer responsibilities to the QIB regarding


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                 price. Therefore, the dealer has no obligation to bid an amount conveyed by a
                 potential buyer to the seller. There is no FINRA Rule that prohibits this practice.

                 2. The indictment's references to "commissions" are misplaced. Cantor Fitzgerald
                 charged no commissions on any of the trades referenced in the indictment. The term
                 "commission" applies when a broker-dealer is acting in the capacity of agent and are
                 virtually unheard of in the fixed-income market (which includes RMBS). Rather,
                 examination of the relevant trade tickets and confirmations indicates that Cantor
                 Fitzgerald, acting as principal and trading for its own account, earned profit by selling
                 RMBS bonds to counterparties at prices higher than its acquisition costs. Cantor
                 Fitzgerald was not receiving any other remuneration or charging any other fee for the
                 execution of principal transactions.

                 3. The terms "all-in" and "on-top" in paragraphs 12(a), 12(b) and 19 of the
                 indictment are not terms that are derived from, or recognized by, securities industry
                 regulation. Rather, they are jargon used by market participants as part of a price
                 negotiation. Strictly speaking, all trades with a broker-dealer acting as principal are
                 "all in" because when an agreement is reached, the deal is always memorialized as
                 one price to the customer for a quantity of a bond. There are no other separate fees or
                 charges for the transaction.

                4. Trade confirmations reflect this "all in" understanding. As governed by SEC Rule
                 lOb-10, which was promulgated under the anti-fraud provisions of the federal
                securities laws, in the context of fixed income transactions, a broker-dealer, when
                acting in the capacity of principal on a fixed income transaction, is under no duty to
                disclose its cost or the amount of mark-up that it charges on the sale of a bond.
                Consistent with applicable disclosure requirements, when acting as principal, dealers
                in debt securities do not disclose their costs or mark-ups. For illustration, Mr.
                Menchel may review numerous trade confirmations that Cantor Fitzgerald provided
                to customers including those referenced in the indictment. Among other aspects of
                the confirmations, Mr. Menchel may observe that the dealer's cost is not disclosed
                and no commission was charged.

                 5. Mr. Menchel may also review the rationale for this regulatory regime, and opine
                that an attempt to change the rules to require dealers to disclose mark-ups failed
                because bond market participants - on both the "sell" side and the "buy" side did not
                want full disclosure. He may opine that, based on his subsequent discussions with
                market participants, market participants had no interest in reviving this proposal
                because they concluded that additional disclosure was not needed, given the
                sophistication of investors in this market. The aborted attempt to require full
                disclosure was proposed by the SEC in Securities Exchange Act Release No. 33743.
                As General Counsel of FINRA, Mr. Menchel was later involved in discussions about
                changing the regulatory regime to provide for greater disclosure. He met with
                industry groups who expressed their opinion that market participants did not want the
                disclosure of markups. These industry participants explained that RMBS buyers and
                sellers price bonds based on the bond's characteristics, without reference to the size
                of the markup. Industry participants also pointed out that all transactions in this
                market are arms-length transactions, where parties determine an appropriate price for
                themselves. Based on these discussions and his experience interacting with market


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                  participants during his time at FINRA generally, Mr. Menchel may opine that
                  institutional bond market participants such as investment funds, hedge funds, and
                  pension funds do not regard disclosure of a dealer's costs or profits as important;
                  rather institutional bond buyers focus on total price and yield, which necessarily take
                  into account any embedded profit in the price quoted by a dealer, and are equipped to
                  evaluate the fairness of a price and negotiate accordingly.

                  6. Mr. Menchel may opine that the size of mark-ups on the transactions referenced
                  in the indictment is not grounded in any regulatory guidance. There is no rule that
                  places a specific limit on the mark-ups that may be charged on transactions addressed
                  in FINRA Rule 2121.02.

                 7. Mr. Menchel may opine that the best execution principle of buy and sell side
                 firms, to the extent it refers to a broker-dealer's duty of best execution to a counter-
                 party , is commonly not defined solely in relation to price. "Best execution" is a term
                 that encompasses three concepts: speed of execution, certainty of execution, and
                 price. Institutional market participants routinely choose to execute with brokerage
                 firms that offer the best execution in terms of the size of the negotiated order without
                 regard to getting the lowest price at which a particular bond may trade at a given
                 time. This concept is correctly noted in the Cantor Fitzgerald Written Supervisory
                 Procedures, 2011, at 308 (DOJ-DD-00000087.) "Given the sophistication of the
                 customer, the complexity of ABS and its price modeling conventions, buyers and
                 sellers of ABS have priorities of certainty and timeliness rather than the highest
                 offer/lowest bid. Given the aforementioned factors, the Firm satisfies its best
                 execution obligations by satisfying the customer's priorities of certainty of execution
                 and timeliness."

                 8. Mr. Menchel may opine that broker-dealers owe a duty of "best execution" to
                 "customers" (as "customers" is defined in the applicable FINRA regulations). In the
                 stock market, where the markets are transparent, this duty is more straightforward and
                 easier to apply. A brokerage firm has to route held market orders to the market where
                 it has the highest likelihood of achieving the best price. Thus, instead of simply filling
                 an order at the firm's quoted price, it must check around to other markets and route
                 the order accordingly. In some segments of the bond market, including the RMBS
                 market in during the period covered in the indictment, there was no consolidated or
                 listed market and no ready access to all market participants. There were no alternative
                 exchanges or electronic trading platforms. The fact that the bond markets are
                 negotiated, not order driven, lack robust pre-trade price discovery mechanisms, and
                 lack electronic access to firm quotes, assessing best execution in real time, let alone
                 after the fact, is a much different process for a bond dealer than for an equity dealer.
                 A bond dealer does not have the same pre-trade point of quote discovery that an
                 equity dealer has in seeking to obtain best execution and in reviewing executions
                 after the fact to determine if, in fact, best execution was achieved.

                 9. In any event, the duty of best execution is inapplicable to the situation in which a
                 broker-dealer is transacting with a Qualified Institutional Buyer ("QIB") in non-
                 investment grade bonds. The duty of best execution is subsumed by the QIB
                 exemption for non-investment grade bonds as set forth in FINRA Rule 2121.02 as
                 that exception in effect puts broker- dealers and their QIB customers in the role of


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                 arms-length counter-parties as to the pricing of non-investment grand bonds. Cantor
                 Fitzgerald and Mr. Demos had no duty to offer better prices to its counter-party, or
                 otherwise assist that counter-party in executing at a better price. Rather, Cantor
                 Fitzgerald and Mr. Demos were free to negotiate any price with a QIB, irrespective of
                 profit earned on the trade. The whole point of the QIB exemption is that the
                 sophistication of the QIB in negotiating the transaction is the sole check on the price
                 of the transaction. By definition, "the QIB has the capacity to evaluate independently
                 the investment risk and in fact is exercising independent judgment in deciding to
                 enter into the transaction." FINRA Rule 2121.02(b)(9). The fact that a QIB is not a
                 customer in this context has several implications:

                 § There is no limit on the size of the dealer's markup.

                 § The best execution duty does not apply.

                 In sum: in transactions involving QIBs and non-investment grade debt securities,
                 each side is of the transaction is an arm's length counterparty to the other. There are
                 no regulations that govern counterparty dealings per se because the securities
                 regulatory scheme does not impose duties to counterparties as opposed to customers.

                 10. From the buy-side perspective, there is a different duty of best execution: that of
                 he investment manager to his clients to get the most favorable price for his client
                 under the circumstances. This is typically done by comparing price quotes from many
                 dealers and negotiating that price with one or more dealers. Again, price is not the
                 sole consideration. Speed, certainty, and other factors with respect to a transaction of
                 institutional size may also be relevant, as well as relationships that an investment
                 manager may have with brokerage firms that may benefit its client.

                a. A buy-side account is not required to transact with a particular broker. Nothing that
                Mr. Demos did prevented any buyer from checking prices at other broker-dealers.
                Given the fiduciary duties these sophisticated buy-side professional investment firms
                owed their clients, which are assumed to have been fully adhered to, there is nothing
                that Mr. Demos did that caused his counter-parties to transact with Cantor Fitzgerald
                at prices higher than the prices available from other firms unless it was in the interest
                of these buy-side firms to do so. I flower prices were available, the buy-side accounts
                likely would have traded away from Cantor Fitzgerald. The fact that the buy side
                account chose to transact with Cantor Fitzgerald indicates that Cantor Fitzgerald in all
                likelihood had the best price (or only price) for a transaction of the size in the market
                at the time.

                b. From the buy-side account's perspective, one could only say that the price
                component of a trade execution was poor in terms of a comparison to what was
                available from other broker-dealers. If the price negotiated was the only price
                available in the market there would be no basis to conclude that the execution was
                poor and that the price should have been better.

                11. Importance of Broker-Dealer Compliance Function: Based upon Mr. Menchel's
                extensive experience in the securities industry and as a securities regulator, Mr.
                Menchel may explain that dealers typically have compliance programs designed to


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                       ensure that personnel comply with governing laws and regulations. Mr. Menchel may
                       opine that:

                       a. Internal compliance training is important in brokerage firms. Through training, the
                       compliance function at a broker-dealer distills the securities industry's many rules to
                       provide clarity to brokers, traders, and sales representatives on how to conduct
                       themselves. Internally within a firm, the interpretation of the compliance staff on
                       what is permissible is very important and is appropriately understood by the
                       employees of that firm as authoritative.

                       b.    Cantor Fitzgerald' s review of Bloomberg chats between Mr. Demos and
                       customers and the review of final execution pricing would have allowed (and should
                       have caused) Cantor Fitzgerald to raise any issues of impropriety in the transactions,
                       cited in the indictment, with Mr. Demos.

                      12. Trade Specific O pinions: Mr. Menchel may offer the opinion that each of
                      Demos' counterparties to the charged trades is a QIB.

      Sincerely,


    ~ GJL/cb

      cc:      Honorable Alvin W. Thompson
               Jose Baez, Esq.
               Ronald S. Sullivan, Esq.
               Michael L. Chambers, Jr., Esq.
               Peter A. Chavkin, Esq.
               Patrick J. Sharkey, Esq.




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